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                                                                                U. S. DISTRICT COURT
                                                                             EASTERN DISTRlCT ARKANSAS


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           GABRIEL GONZALEZ REG#305 l 5- l 12
           FORREST CI1Y LOW
           FEDERAL CORRECTIONAL INSTITUTION
           INMATE MAIL/ PARCELS
           POST OFFICE BOX 9000
           FORREST CITY AR 72336-9000




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